              Case 1:13-vv-00983-UNJ Document 52 Filed 05/13/16 Page 1 of 2




           In the United States Court of Federal Claims
                                       OFFICE OF SPECIAL MASTERS
                                                No. 13-983V
                                            Filed: April 6, 2016
                                              UNPUBLISHED
*********************************
JANET POWELL,                                             *
                                                          *
                              Petitioner,                 *
                     v.                                   *
                                                          *         Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                                       *         Reasonable Amount Requested
AND HUMAN SERVICES,                                       *         To Which Respondent Does Not
                                                          *         Object
                              Respondent.                 *
                                                          *
****************************
F. John Caldwell, Jr., Maglio Christopher & Toale, PA, Sarasota, FL,, for petitioner.
Jennifer Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                            DECISION ON ATTORNEYS’ FEES AND COSTS1

Roth, Special Master:

        On December 12, 2013, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine Act”).
Petitioner alleged that she suffered Guillain-Barre Syndrome after receiving an influenza
immunization. On November 16, 2015, the undersigned issued a decision awarding
compensation to petitioner based on the parties’ stipulation. (ECF No. 42).

       On March 16, 2016, petitioner filed an unopposed motion for attorneys’ fees and costs.
(ECF No. 46).3 Petitioner requests attorneys’ fees and costs in the amount of $21,000. Id. at 1.
In compliance with General Order #9, petitioner has filed a signed statement indicating petitioner
incurred no out-of-pocket expenses. (ECF No. 47).
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the undersigned
intends to post it on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government Services).
In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such material
from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2012).
3
    In the motion, petitioner states that respondent has no objection to petitioner’s request.
           Case 1:13-vv-00983-UNJ Document 52 Filed 05/13/16 Page 2 of 2




       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e).
Based on the reasonableness of petitioner’s request and the lack of opposition from respondent,
the undersigned GRANTS petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $21,000.004 as a lump sum in the
form of a check jointly payable to petitioner and petitioner’s counsel, F. John Caldwell, Jr.

         The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.

                                                               s/Mindy Michaels Roth
                                                               Mindy Michaels Roth
                                                               Special Master




4
  This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all charges by
the attorney against a client, “advanced costs” as well as fees for legal services rendered. Furthermore, § 15(e)(3)
prevents an attorney from charging or collecting fees (including costs) that would be in addition to the amount
awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir.1991).

5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice renouncing
the right to seek review.

                                                          2
